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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 BRENON NASH; ROBERT GIBSON;         )    CIVIL NO. 20-00398 HG-WRP
 CHAUNCY HATA; and LANA HEICK;       )
 individually and on behalf of       )
 all others similarly situated,      )
                                     )
                  Plaintiffs,        )
                                     )
            vs.                      )
                                     )
 DAVID Y. IGE; JOSH GREEN;           )
 NOLAN ESPINDA; and DOES 1-50,       )
                                     )
                  Defendants.        )
                                     )

                             ORDER OF RECUSAL

       To avoid the appearance of impropriety or any reasonable

 question regarding my impartiality, I hereby recuse myself from

 any and all proceedings in this case.        The basis of this recusal

 is my relationship to a party or parties to the litigation.            This

 case is referred to Chief Judge J. Michael Seabright for

 reassignment.

       IT IS SO ORDERED.

       DATED: September 23, 2020, Honolulu, Hawaii.




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